Case 4:20-cv-00957-SDJ   Document 704-10 Filed 12/09/24   Page 1 of 8 PageID #:
                                    39285




                   EXHIBIT 185
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Case 4:20-cv-00957-SDJ     Document 704-10 Filed 12/09/24   Page 2 of 8 PageID #:
                                      39286




                                 In the Matter Of:

                         In Re - Google Antitrust Litigation




                               SCOTT SHEFFER
                                   July 20, 2021




                                                                   GOOG-AT-MDL-007177648
Case 4:20-cv-00957-SDJ      Document 704-10 Filed 12/09/24    Page 3 of 8 PageID #:
                                       39287
      Highly Confidential     Scott Sheffer - July 20, 2021

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  4    IN RE:

  5    GOOGLE ANTITRUST LITIGATION

  6    60-516110-0009

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14              REMOTE DEPOSITION OF SCOTT SHEFFER

15                     JULY 20, 2021 - 9:00 A.M.

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25     JOB NO. 2021-803084



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                                                                     GOOG-AT-MDL-007177649
Case 4:20-cv-00957-SDJ     Document 704-10 Filed 12/09/24     Page 4 of 8 PageID #:
                                      39288
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                                                                           174
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 2    features behind how the bids are entered

 3    into the open bidding auction.

 4            Q       Okay.     All right.        Let's go

 5    back to your understanding of open

 6    bidding.

 7                    What are the demand sources

 8    that compete in open bidding?

 9            A       Well, again, like I am

10    focused more on the sell side.              So from a

11    demand-side perspective, my knowledge is

12    going to be necessarily incomplete.              But

13    from a demand perspective, there could be

14     multiple different DSPs or ad networks

15    competing into -- into open bidding, for

16    example.

17            Q       So from a publisher

18    perspective, what does open bidding give a

19    publisher?

20            A       Well, it gives them a source

21    of ads and monetization.

22            Q       How so?

23            A       Well, different sources of

24    demand compete in realtime and then a

25     winner is determined, and an ad is



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                                                                     GOOG-AT-MDL-007177822
Case 4:20-cv-00957-SDJ     Document 704-10 Filed 12/09/24     Page 5 of 8 PageID #:
                                      39289
     Highly Confidential      Scott Sheffer - July 20, 2021

                                                                           175
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 2    delivered to the publisher.            And then, you

 3     know, monetization payments are made at

 4    some frequency.

 5            Q       So let me ask it this way:

 6    What        what's the difference between open

 7    bidding and an AdX auction?

 8            A       So, again, I am not familiar

 9     with all the technical details, what

10    happens in the back end.           But my

11    understanding is that the main difference

12    between open bidding and Ad Exchange is

13    that in an open bidding environment, all

14    the demand sources are competing in a

15    realtime auction for that particular piece

16    of inventory, and there are likely to be

17     more demand sources competing as a result

18    because of that realtime -- that realtime

19    aspect.

20                    Whereas, Ad Exchange, it's a

21    realtime bidding environment, but it

22    conceivably may not have as much -- as

23     many demand sources as open bidding might

24    have.

25            Q       Okay.     That's helpful.



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                                                                     GOOG-AT-MDL-007177823
Case 4:20-cv-00957-SDJ   Document 704-10 Filed 12/09/24   Page 6 of 8 PageID #:
                                    39290
Case 4:20-cv-00957-SDJ   Document 704-10 Filed 12/09/24   Page 7 of 8 PageID #:
                                    39291
Case 4:20-cv-00957-SDJ   Document 704-10 Filed 12/09/24   Page 8 of 8 PageID #:
                                    39292
